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Attorney for HSBC BANK USA, NATIONAL ASSOCIATION AS TRUSTEE FOR CITIGROUP
MORTGAGE LOAN TRUST, INC. ASSET BACKED PASS-THROUGH CERTIFICATES SERIES 2005-HE2


                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION


IN RE:                                                §   CASE NO. 17-90014-BP-13
                                                      §
CARLOS ESCOBEDO and SYLVIA                            §
ESCOBEDO,                                             §
   Debtor                                             §   CHAPTER 13
                                                      §
HSBC BANK USA, NATIONAL                               §
ASSOCIATION AS TRUSTEE FOR                            §
CITIGROUP MORTGAGE LOAN                               §
TRUST, INC. ASSET BACKED                              §
PASS-THROUGH CERTIFICATES                             §
SERIES 2005-HE2,                                      §
    Movant                                            §   HEARING DATE: ____________
                                                      §
v.                                                    §   TIME:______________________
                                                      §
CARLOS ESCOBEDO and SYLVIA                            §
ESCOBEDO; CAREY D EBERT,                              §
Trustee                                               §
     Respondents                                      §   JUDGE BILL PARKER


  MOTION OF HSBC BANK USA, NATIONAL ASSOCIATION AS TRUSTEE FOR
CITIGROUP MORTGAGE LOAN TRUST, INC. ASSET BACKED PASS-THROUGH
                       CERTIFICATES SERIES 2005-HE2
FOR RELIEF FROM STAY OF ACTION AGAINST DEBTOR(S) PURSUANT TO 11
 U.S.C. § 362(a) AND WAIVER OF THIRTY DAY REQUIREMENT PURSUANT TO
                                 § 362(e)

                                             NOTICE

NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN
OBJECTION IS FILED WITH THE CLERK OF THE UNITED STATES
BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS
PLEADING WITHIN 14 DAYS FROM THE DATE OF SERVICE UNLESS THE
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COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION.
IF NO OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED
IN A TIMELY MANNER, THE COURT WILL THEREAFTER SET A HEARING. IF
YOU FAIL TO APPEAR AT THE HEARING, YOUR OBJECTION MAY BE
STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY
MATTER.

 TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Movant, HSBC BANK USA, NATIONAL ASSOCIATION AS

 TRUSTEE FOR CITIGROUP MORTGAGE LOAN TRUST, INC. ASSET BACKED

 PASS-THROUGH CERTIFICATES SERIES 2005-HE2, by and through the undersigned

 attorney, and moves the Court as follows:

      1.       This Motion is brought pursuant to 11 U.S.C. §362(d) in accordance with Rule

4001 of the Bankruptcy Rules.

      2.       On or about January 10, 2017, Debtors (hereinafter "Debtor") filed a petition for

an order of relief under Chapter 13 of the Bankruptcy Code, 11 U.S.C.

      3.       At the time of filing the Chapter 13 petition, Movant held a Note executed on

January 16, 2002, by CARLOS ESCOBEDO and SYLVIA ESCOBEDO in the original

amount of FIFTY-SIX THOUSAND TWENTY DOLLARS AND ZERO CENTS

($56,020.00) with interest thereon at the rate of 8.000% per annum. A true and correct copy of

the Note is attached hereto as Exhibit "A".

      4.       Debtor(s) executed a promissory note secured by a mortgage or deed of trust.

The promissory note is either made payable to Creditor or has been duly indorsed. Creditor,

directly or through an agent, has possession of the promissory note. Creditor is the original

mortgagee or beneficiary or the assignee of the mortgage or deed of trust.

      5.       The indebtedness is secured by a Deed of Trust dated January 16, 2002 and


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executed by CARLOS ESCOBEDO and SYLVIA ESCOBEDO on real estate with all

improvements known as:

      BEING ALL THAT CERTAIN TRACT OR PARCEL OF LAND LYING AND
      SITUATED IN ANGELINA COUNTY, TEXAS, OUT OF THE P. HERRERA
      SURVEY, ABSTRACT NO. 802 AND BEING ALL OF THAT CERTAIN 3.23
      ACRE TRACT DESCRIBED IN A DEED FROM AUDRA M. EUBANK TO
      TRUITT J. EUBANK DATED JULY 2, 1996 AND RECORDED IN VOLUME
      1071 ON PAGE 733 THE OF REAL PROPERTY RECORDS OF ANGELINA
      COUNTY, TEXAS, TO WHICH REFERENCE IS HEREBY MADE FOR ANY
      AND ALL PURPOSES AND THE SAID TRACT OR PARCEL BEING
      DESCRIBED BY METES AND BOUNDS AS FOLLOWS, TO-WIT:

      BEGINNING AT THE NORTHEAST CORNER OF THE AFORESAID,
      REFERRED TO 3.23 ACRE TRACT AND THE NORTHWEST CORNER OF
      THAT CERTAIN 4.625 ACRE TRACT DESCRIBED IN A DEED FROM
      CHARLES A. ORSBORNE, ET UX TO JEFFREY ALAN MOFFETT ET UX
      DATED AUGUST 31, 1984 AND RECORDED IN VOLUME 565 ON PAGE
      591 OF THE DEED RECORDS OF ANGELINA COUNTY, TEXAS, A 1/2''
      ROD FOUND FOR CORNER IN THE SOUTH BOUNDARY LINE OF THAT
      CERTAIN 30.41 ACRE TRACT DESCRIBED IN A DEED FROM DONALD
      LUSTER, ET UX TO GLEN N. MCDANIEL, ET UX DATED NOVEMBER 1,
      1980 AND RECORDED IN VOLUME 510 ON PAGE 887 OF THE DEED
      RECORDS OF ANGELINA COUNTY, TEXAS, SAID ROD WITNESSED BY
      A FENCE CORNER BEARING S 69 DEG 55' W 1.2 FEET;

      THENCE S 34 DEG 33' 48'' W (CALLED S 34 DEG 33' 56'' W) WITH THE
      EAST (OR SOUTHEAST) BOUNDARY LINE OF THE SAID 3.23 ACRE
      TRACT AND THE WEST (OR NORTHWEST) BOUNDARY LINE OF THE
      SAID 4.625 ACRE TRACT, AT 713.53 FEET (CALLED 713.60 FEET) THE
      SOUTHEAST CORNER OF THE SAID 3.23 ACRE TRACT AND THE
      SOUTHWEST CORNER OF THE SAID 4.625 ACRE TRACT, A POINT FOR
      CORNER FOR CORNER IN THE CURVING NORTH (OR NORTHEAST)
      RIGHT-OF-WAY LINE OF F.M. HIGHWAY NO. 326 (100 FEET WIDE
      RIGHT-OF-WAY), SAID POINT WITNESSED BY A POWER POLE
      BEARING N 29 DEG W 0.4 FEET, A FENCE CORNER BEARING N 34 DEG
      E 0.7 FEET, AND A CONCRETE RIGHT-OF-WAY MONUMENT BEARING
      S 57 DEG 05' 47'' E 390.71 FEET;

      THENCE NORTHWESTERLY WITH A 05 DEG 13' 32'' CURVE TO THE
      RIGHT (CENTRAL ANGLE = 12 DEG 32' 24'' RADIUS = 1096.45 FEET WITH
      LONG CHORD BEARING AND DISTANCE= N 40 DEG 33' 47'' W 239.50
      FEET (CALLED N 40 DEG 33' 44'' W 239.50 FEET)) WITH THE SOUTH (OR
      SOUTHWEST) BOUNDARY LINE OF THE SAID 3.23 ACRE TRACT AND
      THE NORTH (OR NORTHEAST) RIGHT-OF-WAY LINE OF THE SAID F.M.
      HIGHWAY NO. 326, AT 239.97 FEET THE SOUTHWEST CORNER OF THE
      SAID 3.23 ACRE TRACT AND THE SOUTHEAST CORNER OF THAT
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      CERTAIN 2.255 ACRE TRACT DESCRIBED IN A DEED FROM BOBBY R.
      HALL TO AUDREY B. HALL DATED FEBRUARY 25, 1988 AND
      RECORDED IN VOLUME 714 ON PAGE 891 OF THE REAL PROPERTY
      RECORDS OF ANGELINA COUNTY, TEXAS, A 1/2'' PIPE FOUND FOR
      CORNER WITNESSED BY A 1/2'' ROD (AT A FENCE CORNER) BEARING
      N 39 DEG 11' 54'' E 0.32 FEET AND A CONCRETE RIGHT-OF-WAY
      MONUMENT BEARING N 25 DEG 34' 10'' W 332.59 FEET;

      THENCE N 34 DEG 32' 46'' E (CALLED N 34 DEG 32' 46'' E) WITH THE
      WEST (OR NORTHWEST) BOUNDARY LINE OF THE SAID 3.23 ACRE
      TRACT AND THE EAST (OR SOUTHEAST) BOUNDARY LINE OF THE
      SAID 2.255 ACRE TRACT, AT 493.12 FEET (CALLED 493.12 FEET) THE
      NORTHWEST CORNER OF THE SAID 3.23 ACRE TRACT AND THE
      NORTHEAST CORNER OF THE SAID 2.255 ACRE TRACT, A 1/2'' ROD
      FOUND FOR CORNER IN THE SOUTH BOUNDARY LINE OF THE
      AFORESAID 30.41 ACRE TRACT, SAID ROD WITNESSED BY A FENCE
      CORNER BEARING S 03 DEG 19' E 1.2 FEET;

      THENCE S 89 DEG 53' 40'' E (CALLED S 89 DEG 54' 12'' E) WITH THE
      NORTH BOUNDARY LINE OF THE SAID 3.23 ACRE TRACT AND THE
      SOUTH BOUNDARY LINE OF THE SAID 30.41 ACRE TRACT, AT 280.91
      FEET (CALLED 280.97 FEET) THE POINT AND PLACE OF BEGINNING
      AND CONTAINING 3.23 ACRES OF LAND, MORE OR LESS.

      THE UNDERSIGNED DOES HEREBY CERTIFY THAT THIS SURVEY WAS
      THIS DAY MADE ON THE GROUND OF THE PROPERTY LEGALLY
      DESCRIBED HEREON AND IS CORRECT, AND THERE ARE NO VISIBLE
      DISCREPANCIES, CONFLICTS, SHORTAGES IN AREA, BOUNDARY LINE
      CONFLICTS, ENCROACHMENTS, OVERLAPPING OF IMPROVEMENTS,
      EASEMENTS, OR RIGHTS-OF-WAY, EXCEPT AS SHOWN HEREON, AND
      SAID PROPERTY ABUTS F.M. HIGHWAY NO. 326 AS SHOWN ABOVE.

      BASIS OF BEARINGS: THE WEST BOUNDARY LINE OF THE SAID 3.23
      ACRE TRACT (DEED CALL - E 493.12 FEET).

A true and correct copy of the Deed of Trust is attached hereto as Exhibit "B".

      6.       Debtor have failed to maintain current the post-petition payments due under the

Note and as of February 5, 2019 are presently in arrears for 3 payments through and including

the February 1, 2019 payment.

      7.       The outstanding indebtedness to Movant is $43,134.73 principal plus accrued

interest, late charges, attorneys fees and costs as provided in the Note and Deed of Trust.


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      8.       In accordance with the terms of the Note and Deed of Trust, Movant would

allege that it is entitled to reasonable post-petition attorneys fees, including, but not limited to,

fees, if any, for the preparation and filing of a proof of claim and fees and costs for the filing of

this Motion for Relief from Stay.

      9.       Debtor have failed to provide adequate protection to Movant which constitutes

cause to terminate the automatic stay of 11 U.S.C. §362(a).

      10.      By reason of the foregoing, Movant requests the Court to terminate the stay so

Movant may proceed to foreclose in accordance with its Note and Deed of Trust.

      11.      Movant reserves the right to assert an 11 U.S.C. § 362(d)(2) Cause of Action, if

appropriate, at the hearing on Movant's Motion for Relief.

      12.      The provision of Rule 4001 (a) (3) should be waived and Movant be permitted to

immediately enforce and implement any order granting relief from the automatic stay.

      WHEREFORE, Movant prays that this Court enter an order, after notice and hearing,

terminating the automatic stay as to Movant; alternatively, Movant be made whole by having

all post-petition payments brought current. Movant further prays that the Court waive the

provision of Rule 4001 (a) (3) and that HSBC BANK USA, NATIONAL ASSOCIATION AS

TRUSTEE FOR CITIGROUP MORTGAGE LOAN TRUST, INC. ASSET BACKED

PASS-THROUGH CERTIFICATES SERIES 2005-HE2 be permitted to immediately enforce

and implement any order granting relief from the automatic stay; that Movant be awarded its

reasonable post-petition attorneys fees and expenses for this Motion; and, that Movant be

granted such other and further relief as is just.




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                                       Respectfully submitted,

                                       BARRETT DAFFIN FRAPPIER
                                       TURNER & ENGEL, LLP



                                BY: /s/ HEATHER GRAM-CHAVEZ
                                    HEATHER GRAM-CHAVEZ
                                    TX NO. 24092440
                                    4004 Belt Line Rd Ste. 100
                                    ADDISON, TX 75001
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                                    ATTORNEY FOR MOVANT




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                                   CERTIFICATE OF SERVICE
    I hereby certify that on February 25, 2019, a true and correct copy of the foregoing Motion

for Relief from Stay was served via electronic means as listed on the Court's ECF noticing

system or by regular first class mail to the parties on the attached list.



                                       Respectfully submitted,

                                       BARRETT DAFFIN FRAPPIER
                                       TURNER & ENGEL, LLP



                                       /s/ HEATHER GRAM-CHAVEZ                     02/25/2019
                                       HEATHER GRAM-CHAVEZ
                                       TX NO. 24092440
                                       4004 Belt Line Rd Ste. 100
                                       ADDISON, TX 75001
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DEBTORS:
CARLOS ESCOBEDO
10349 FM 326
LUFKIN, TX 75901

CARLOS ESCOBEDO
ROUTE 2 BOX 3750
LUFKIN, TX 75901

SYLVIA ESCOBEDO
10349 FM 326
LUFKIN, TX 75901

SYLVIA ESCOBEDO
ROUTE 2 BOX 3750
LUFKIN, TX 75901

TRUSTEE:
CAREY D EBERT
110 N. COLLEGE AVE
12 FLOOR
TYLER, TX 75702

US TRUSTEE:
110 N. COLLEGE AVE
SUITE 300
TYLER, TX 75702

DEBTOR'S ATTORNEY:
WALTER DAVID STEPHENS
P. O. BOX 444
103 E. DENMAN
LUFKIN, TX 75902-0444

PARTIES IN INTEREST:
None

PARTIES REQUESTING NOTICE:
None




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